     Case 1:21-cr-00176-AMD Document 1-1 Filed 04/01/21 Page 1 of 1 PageID  #: 5
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                                                                                            1:15 pm, Apr 01, 2021


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                                         INFORMATION SHEET

                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK


1.       Title of Case: United States v. John Pena

2.       Related Magistrate Docket Number(s): _ __ _ __ _ _ __ _ _ _ _ __ _

3.       Arrest Date: TBD                               1:21-cr-00176(AMD)(CLP)
4.       Nature of offense(s):     IZI   Felony
                                   □     Misdemeanor

5.       Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3 .2 of the Local E.D.N.Y.
         Division of Business Rules): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

6.       Projected Length of Trial:       Less than 6 weeks
                                          More than 6 weeks     □

7.       County in which crime was allegedly committed: _R_ic_hm_o_n_d_C_o_un_ty_ _ _ _ _ _ __
         (Pursuant to Rule 50. l(d) of the Local E.D.N.Y. Division of Business Rules)

8.       Was any aspect of the investigation, inquiry and prosecution giving rise to the case
         pending or initiated before March 10, 2012. 1        □ Yes IZI No

9.       Has this indictment/information been ordered sealed?           IZI Yes   □   No

10.      Have arrest warrants been ordered?                             IZI Yes   □ No


11.      Is there a capital count included in the indictment?   □ Yes    IZI No


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                                                                    I!
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         Judge Brodie will not accept cases that were initiated before March I 0, 2012.



Rev. 10/04/12
